Case 2:24-cv-00757-JRG   Document 35-10 Filed 11/25/24   Page 1 of 3 PageID #:
                                    1060




                              EXHIBIT 
           Case 2:24-cv-00757-JRG           Document 35-10 Filed 11/25/24                   Page 2 of 3 PageID #:
                                                       1061

Secretary of State                                                                        Filed in the Office of the
P.O. Box 13697                                                                          Secretary of State of Texas
Austin, TX 78711-3697                                                              Filing #: 805045691 05/04/2023
FAX: 512/463-5709                                                                    Document #: 1243985400002
                                           Certificate of Formation               Image Generated Electronically
    Filing Fee: $300                                                                                 for Web Filing
                                          Limited Liability Company

                                              Article 1 - Entity Name and Type
The filing entity being formed is a limited liability company. The name of the entity is:

~VANT LOCATION TECHNOLOGIES LLC
I                                    Article 2 - Registered Agent and Registered Office
Ir A. The initial registered agent is an organization (cannot be company named above) by the name of:
T
                                                              OR
IP'B. The initial registered agent is an individual resident of the state whose name is set forth below:
    Name:
I
    Rafi     Uddin
IC. The business address of the registered agent and the registered office address is:
        eet Address:
        00 Preston Rd
    .   ite 400 Plano TX 75093-75093
l                                               Consent of Registered Agent
jr A. A copy of the consent of registered agent is attached .
                                                              OR
~       - The consent of the registered agent is maintained by the entity.
I                                              Article 3 - Governing Authority
jrA. The limited liability company is to be managed by managers.
                                                        OR
IP'B. The limited liability company will not have managers. Management of the company is reserved to the members.
The names and addresses of the governing persons are set forth below:
                        ANJAY TECHNOLOGY PARTNERS LLC
!Managing Member 1 (Business Name)

!Address 104 EAST HOUSTON STREET SUITE 180 MARSHALL TX, USA 75670
l                                                     Article 4 - Purpose
The purpose for which the company is organized is for the transaction of any and all lawful business for which limited
liability companies may be organized under the Texas Business Organizations Code.




                                           Supplemental Provisions/ Information
        Case 2:24-cv-00757-JRG                   Document 35-10 Filed 11/25/24                  Page 3 of 3 PageID #:
                                                            1062
[The attached addendum, if any, is incorporated herein by reference.]




                                                          Initial Mailing Address
Address to be used by the Comptroller of Public Accounts for purposes of sending tax information .
The initial mailing address of the filing entity is:
104 East Houston Street
Suite 140
Marshall, TX 75670
USA
~·                                                                 Organizer
The name and address of the organizer are set forth below.
RAFI UDDIN                    1400 PRESTON RD STE 400, PLANO TX 75093
                                                         Effectiveness of Filing
IR:A. This document becomes effective when the document is filed by the secretary of state .
                                                                        OR
[Cs
 ............ . T... his document becomes effective at a later date, which is not more than ninety (90) days from the date of its
!signing . The delayed effective date is:
I                                                                 Execution
The undersigned affirms that the person designated as registered agent has consented to the appointment. The
undersigned signs this document subject to the penalties imposed by law for the submission of a materially false or
fraudulent instrument and certifies under penalty of perjury that the undersigned is authorized under the provisions of
law governing the entity to execute the filing instrument.
IRAFI UDDIN                                                   --
[s}gnature of Organizer

     FILING OFFICE COPY
